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Attorneys for Secured Creditor,
BANK OF NEWYORK AS TRUSTEE FOR THE CERTIFICATE HOLDERS CWMBS,
INC., CHL MORTGAGE PASS-THROUGH TRUST 2005-24 MORTGAGE PASS-
THROUGH CERTIFICATES, SERIES 2005-24
By: Gary K. Norgaard, Esq. [GN – 9243]

 In Re:                                       UNITED STATES BANKRUPTCY COURT
                                               FOR THE DISTRICT OF NEW JERSEY
                                                 TRENTON VICINAGE
           DIANA MORGAN TRACEY
                                                          Chapter 11
                        Debtor(s).                   Case No. 09-42996(MBK)

                                              HEARING DATE: June 7, 2010

          CERTIFICATION IN SUPPORT OF MOTION FOR RELIEF FROM THE
                              AUTOMATIC STAY

          I, JENNIFER R. SCHNAUFER, hereby certify as follows:

          1.    I am the Assistant Vice President Bankruptcy of the Secured Creditor, BANK OF

NEWYORK AS TRUSTEE FOR THE CERTIFICATE HOLDERS CWMBS, INC., CHL

MORTGAGE PASS-THROUGH TRUST 2005-24 MORTGAGE PASS-THROUGH

CERTIFICATES, SERIES 2005-24 (“Secured Creditor” and/or “Movant”) herein. I make this

Certification in support of the within motion for relief from the automatic stay.        I am fully

familiar with the records and the original documents in the Movant’s files, and have reviewed

same in preparing this Certification. The assertions set forth in any prior certification submitted

in support of the relief requested are ratified hereby except to the extent they vary with the facts

as set forth herein, in which case the assertions set forth in this certification shall supersede,

amend and supplement the prior submission.
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        2.      The Secured Creditor is the holder of a mortgage encumbering the debtor's

property commonly known as 337 SWEETMANS LANE, TOWNSHIP OF MILLSTONE,

NJ (the "Property"). Unless previously submitted with a prior certification 1, annexed hereto as

Exhibit A are true copies of the Note, Mortgage and Assignment(s) of Mortgage.

        3.      The Property has a fair market value of $650,000.00. Annexed hereto as Exhibit

B is a true copy of the Appraisal dated May 2, 2005 showing value.

        4.      The balance due on said mortgage is as set forth in the duly filed Proof of Claim.

In accordance with the Local Rules, the following is a breakdown of the current amount due on

this indebtedness, with interest to a date certain and per diem interest charge. If required, the

undersigned will produce an appropriate officer of the Secured Creditor for testimony to

corroborate the following calculations:

                Principal Amount                                            $498,593.00
                Accrued Interest                                            $ 79,059.24
                Escrow Advances                                             $ 22,683.87
                Recording Fees                                              $     40.00
                Fees Due                                                    $ 3,489.86
                Bankruptcy Attorney Contractual Fees                        $    850.00
                              TOTAL                                         $604,715.97
                Less Payments/Credits on Account                           ($)
                              PRESENT AMOUNT DUE                            $604,715.97

                N.B. Per Diem.............$83.66

        5.      I am fully familiar with the records of the secured creditor, which records indicate

the debtor has failed to make any payments outside the Plan on account of this indebtedness

since the October 1, 2007 installment was paid. All documents submitted in support hereof are

true copies of the originals which are in the office of the movant and are admissible pursuant to


        1
            Exhibits previously submitted to the court, and contained in the court’s file are incorporated by
reference herein, as though set forth in their entirety, in order to avoid unnecessary duplication and
proliferation of the court’s files.
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Federal Rule of Evidence 1003.

         6.       The debtor's petition was filed on 12/8/2009. The debtor's Plan was has not yet

been confirmed.

         7.       In view of the above the movant is entitled to relief from the Automatic Stay

pursuant to 11 U.S.C. Sections 362(d) and 1326, et seq.

         I hereby certify that the foregoing statements made by me are true. I am aware that if any

of the foregoing statements made by me are willfully false, I am subject to punishment.


Dated:      May 4, 2010
                                     /s/Jennifer R. Schnaufer
                                        JENNIFER R. SCHNAUFER


File No. 10N196
